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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


VLSI TECHNOLOGY LLC,                            §
           Plaintiff,                           §
                                                §                 W:21-CV-00057-ADA
                                                §
v.                                              §
                                                §
INTEL CORPORATION,                              §
          Defendant.                            §
                                                §
                                                §

                   ORDER DENYING DEFENDANT’S MOTION FOR
                       JUDGMENT AS A MATTER OF LAW

       On this day came on to be considered Defendant Intel Corporation’s Rule 50(A)

Motion for Judgement as a Matter of Law (D.I. 527) and the Court having now review said

motion, supporting arguments during trial, and all other matters of record, finds that said

motion should be denied without prejudice. Accordingly, it is therefore,

       ORDERED that Defendant Intel Corporation’s Rule 50(A) Motion for Judgment as a

Matter of Law is hereby DENIED WITHOUT PREJUDICE.


IT IS SO ORDERED.

SIGNED this 26th day of February, 2021.



                                                    ________________________________
                                                    ALAN D ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
